  
 

 

  

Case 12-02448-RLM-7A Doc 48 Filed 05/24/21 EOD 06/10/21 15:55:47 Pgi1of2
Fill in this Information to identify the case:

Debtor’ AhcholE  flndrra R | C/

First Name Middle Name Last Name

  

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: COUthDe. District of WOO) OR
State)
Case number: IQ — OZR YUE ~ Rim- TK

 

 

 

 

Form 1340 (12/19)
APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

 

1. Claim Information

For the benefit of the Claimant(s)' named below, application is made for the payment of unclaimed funds on deposit with

the court. | have no knowledge that any other party may be entitled to these funds, and | am not aware of any dispute
regarding these funds.

Note: If there are joint Claimants, complete the fields below for both Claimants.

 

Amount: / . I45 st <

 

 

Claimant's Name: N Ifo /é Aydt ke h eV

 

Claimant's Current Mailing YU/ A. SZ/UA 7E JAUE /

Address, Telephone Number, U AT a7 a

and Email Address: TWD Y ] s IN LM 2 0) é

 

 

2. Applicant Information

Applicant? represents that Claimant is entitled to receive the unclaimed funds because (check the statements that
apply): sa)
ie Applicant is the Claimant and is the Owner of Record? entitled to the unclaimed funds appearing on the records of
the court.
oO Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition, .
succession or by other means. \

Oo Applicant is Claimant's representative (e.g., attorney or unclaimed funds locator),

oO Applicant is a representative of the deceased Claimant's estate.
3. Supporting Documentation

Applicant has read the court's instructions for filing an Application for Unclaimed Funds and is providing the required
supporting documentation with this application.

 

 

 

 

' The Claimant is the party entitled to the unclaimed funds.

* The Applicant is the party filing the application. The Applicant and Claimant may be the same.
* The Owner of Record is the original payee.

 
Case 12-02448-RLM-7A Doc 48 Filed 05/24/21 EOD 06/10/21 15:55:47 Pg 2of2

 

4. Notice to United States Attorney

Applicant has sent a copy of this application and supporting documentation to the United States Attorney,
pursuant to 28 U.S.C. § 2042, at the following address:

Office of the United States Attorney
District of
[Court enters address here]

 

5. Applicant Declaration

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

pate: 4 // 7, Al
UN kK Lye

5, Co-Applicant Declaration (if applicable)

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

Date:

 

 

Signature of Applicaht/
At Chale Ki | EY

Printed Name of Applicant

Address: 2/0) NJ SEMI TE APT =I &
Tpppls IN 4bRo4

FO4)- AG T-2 759
Nau fey 3003 gma! om

Telephone:

 

Email:

Signature of Co-Applicant (if applicable)

Printed Name of Co-Applicant (if applicable)

Address:

Telephone:

 

Email:

 

 

6. Notarization '
STATE OF _undiand

COUNTY OF Marion

This, Application for Unclaimed Funds, dated

i ade t was subscribed and sworn to before
me this day of May , 20 Af by

Me chile kiley

who signed above and is personally known to me (or
proved to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to the within
instrument. WITNESS my hand and official seal.

Notary Public Yale falland

(SEAL)

 

 

KATHI BALLAR |. cca: Dutch
NOTARY PUBLIC - {ly commision expires: 2<0A

STATE OF INDIANA
COMMISSION NUMBER 710675
MY COMMISSION EXPIRES FEB. 20, 2026

 

6. Notarization
STATE OF

 

COUNTY OF

 

This Application for Unclaimed Funds, dated
was subscribed and sworn to before

me this day of , 20 by

who signed above and is personally known to me (or
proved to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to the within
instrument. WITNESS my hand and official seal.

(SEAL) Notary Public

My commission expires:

 

 

 

 

 

 

Form 1340

Application for Payment of Unclaimed Funds

Page 2
